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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,



                                      Plaintiff,

                                                                     DECISION AND ORDER

                                                                     05-CR-6161L

                      v.

JOHN NICOLO, DAVID FINNMAN,
and CONSTANCE ROEDER,



                              Defendants.
________________________________________________


       By notice of motion (Dkt. #307), the Democrat & Chronicle (hereinafter “D&C”) moved to

intervene in the action in order to seek clarification and/or be heard relative to the Court’s oral

decision, announced in open court on May 20, 2008, restricting contact with jurors concerning their

deliberations. No party has filed any paper concerning the motion.

       The D&C’s motion (Dkt. #307) to the extent it seeks leave to intervene is granted. If the

D&C wishes to submit any additional material, it must do so on or before June 17, 2008.

       IT IS SO ORDERED.



                                      _______________________________________
                                               DAVID G. LARIMER
                                             United States District Judge

Dated: Rochester, New York
       June 3, 2008.
